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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Defendant.

)
UNITED STATES OF AMERICA )
)
v. ) Criminal No. 21-0507 (PLF)
)
STEPHANIE MARYLOU BAEZ, )
)
)
)

MEMORANDUM OPINION AND ORDER

Defendant Stephanie Marylou Baez is charged in a five-count superseding
indictment (the “Superseding Indictment”) based on conduct related to the events at the U.S.
Capitol on January 6, 2021. See Indictment [Dkt. No. 69].! The Superseding Indictment adds
one felony charge to the four misdemeanors with which Ms. Baez was previously charged by

information. Compare id. with Information [Dkt. No. 10]. Pending before the Court is the

Defendant’s Motion to Dismiss Superceding Indictment (“Def.’s Mot.”) [Dkt. No. 78]. The
government opposes the motion, which is now ripe for resolution. See United States’ Opposition
to Defendant’s Motion to Dismiss Superceding Indictment (“U.S. Opp.”) [Dkt. No. 80];
Defendant’s Reply to United States’ Opposition to Defendant’s Motion to Dismiss Superceding
Indictment (“Def.’s Reply”) [Dkt. No. 82].

Ms. Baez’s motion challenges only the additional felony charge. Count One of

the Superseding Indictment charges Ms. Baez with Obstruction of an Official Proceeding and

For a comprehensive description of Ms. Baez’s alleged conduct, see United States

v. Baez, Crim. No. 21-0507, 2023 WL 3846169, at *1 (D.D.C. June 2, 2023) (denying Ms.
Baez’s motion to dismiss the Information).
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Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2), 2. Ms. Baez makes two arguments
as to why this new count should be dismissed for failure to state an offense. See FED. R.
CRIM. P. 12(b)(3)(B)(v). In addition, she argues that it should be dismissed on the grounds of
vindictive prosecution. See id. 12(b)(3)(A){iv). The Court finds none of Ms. Baez’s arguments
persuasive.

First, Ms. Baez argues that the Superseding Indictment fails to state an offense
because it does not allege that she used independently felonious means to obstruct the Electoral

College vote certification. Def.’s Mot. at 8-10. Ms. Baez points to United States v. Robertson,

the D.C. Circuit’s most comprehensive statement on the “corruptly” element of

Section 1512(c)(2), in which the court of appeals emphasized that the defendant in the case
committed felonious conduct in the course of his obstruction. Def.’s Mot. at 9; see United States
v. Robertson, 86 F.4th 355, 370-71 (D.C. Cir. 2023). But, as the government argues, Ms. Baez
misreads Robertson. See U.S. Opp. at 8-10. The D.C. Circuit explicitly disclaimed any reading
of its decision that would require a defendant to act through independently felonious means. “In
holding that felonious means are sufficient to establish ‘corrupt’ behavior,” the court of appeals
wrote, “we do not suggest that they are always necessary to prove the ‘corruptly’ element.”

United States v. Robertson, 86 F.4th at 380. Moreover, the D.C. Circuit made clear that no

showing of corrupt means — independently felonious or otherwise — is necessary to prove that a
defendant acted “corruptly.” Instead, “under circumstances where a defendant’s conduct is not
inherently corrupt nor his means independently wrongful, ‘corruptly’ can be proved by

examining the defendant’s purpose.” Id. at 368; see United States v. Brock, No. 23-3045, 2024

WL 875795, at *6 (D.C. Cir. Mar. 1, 2024). Because the government may prove the “corruptly”

element “in a variety of ways” at trial, United States v. Robertson, 86 F.4th at 368, the

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Superseding Indictment states an offense under Section 1512(c)(2) even though it does not allege
independently felonious means.

Second, Ms, Baez contends that “the new obstruction charge is unconstitutionally
vague” because questions regarding the interpretation of Section 1512(c)(2) “have produced at
least five materially differing opionions [sic]” in the D.C. Circuit. Def.’s Mot. at 10. The
standard for whether a criminal statute is unconstitutionally vague, however, has nothing to do
with the number of dissents or concurrences produced in cases interpreting it. Instead, “[a] law
is impermissibly vague in violation of the Fifth Amendment’s Due Process Clause if ‘it fails to
give ordinary people fair notice of the conduct it punishes, or [is] so standardless that it invites

arbitrary enforcement.’” United States v. Montgomery, 578 F. Supp. 3d 54, 79-80 (D.D.C.

2021) (alteration in original) (quoting Johnson v. United States, 576 U.S. 591, 595 (2015))

(rejecting a vagueness challenge to Section 1512(c)(2)). “[T]he touchstone is whether the
statute, either standing alone or as construed, made it reasonably clear at the relevant time that

the defendant’s conduct was criminal.” United States v. Lanier, 520 U.S. 259, 267 (1997).

Applying this standard in similar cases, this Court has repeatedly ruled that

Section 1512(c)(2) is not unconstitutionally vague. See United States v. Connell, Crim.

No. 21-0084, 2023 WL 4314903, at *5-6 (D.D.C. July 3, 2023); United States v. GossJankowski,

Crim. No. 21-0123, 2023 WL 130817, at *9-10 (D.D.C. Jan. 9, 2023); United States v. Puma,
596 F. Supp. 3d 90, 103-08 (D.D.C. 2022). The Court sees no reason to reconsider its previous

decisions in light of the D.C. Circuit’s latest opinions. In United States v. Fischer, although the

three judges wrote separately to express their differing views on the meaning of “corruptly,”

none of them found the term to be unconstitutionally vague. See United States v. Fischer, 64

F 4th 329, 336-37, 341-42 (D.C. Cir. 2023). And in Robertson, the D.C. Circuit gave
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“corruptly” a meaning substantially similar to the one this Court has given it in cases rejecting

vagueness challenges. Compare United States v. Robertson, 86 F.4th at 365-67, with United

States v. Puma, 596 F. Supp. 3d at 103, 105. Here, too, the Court rejects Ms. Baez’s vagueness
challenge.”

Third, Ms. Baez asserts a claim of vindictive prosecution, arguing that the
government added a felony charge in order “to punish [her] for exercising her constitutional right
to go to trial.” Def.’s Mot. at 2. “{T]o succeed on a claim of vindictive prosecution, a defendant
must establish that the increased charge was brought solely to penalize him and could not be

justified as a proper exercise of prosecutorial discretion.” United States vy. Slatten, 865 F.3d 767,

799 (D.C. Cir. 2017) (cleaned up). A defendant can make this showing in one of two ways.
First, she may take the “exceedingly difficult” route of attempting to show vindictive prosecution
through “objective evidence” of “actual vindictiveness” — i.e., direct evidence that the prosecutor

added the charge solely in order to punish her. United States v, Meyer, 810 F.2d 1242, 1245

(D.C. Cir. 1987). Second, she may present evidence “indicating a realistic likelihood of
vindictiveness, which gives rise to a presumption that the government must then attempt to

rebut.” United States v. Slatten, 865 F.3d at 799 (cleaned up).

Ms. Baez presents no evidence of actual vindictiveness. Instead, she points to
three facts from which she asks the Court to presume a vindictive motive: first, that the
government added the Section 1512(c)(2) charge after Ms. Baez rejected its plea offer, Def.’s

Mot. at 3; second, what she claims to be “a systemic pattern and practice” of prosecutors adding

a While Ms. Baez repeatedly refers to the rule of lenity, it is unclear how she

believes lenity to relate to her vagueness argument. See Def.’s Mot. at 10-11; Def.’s Reply at 3.
To the extent Ms. Baez is arguing that the rule of lenity compels the Court to interpret

Section 1512(c)(2) not to apply to her alleged conduct, the Court has previously rejected this
argument and does so here. See United States v. Connell, 2023 WL 4314903, at *7.

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Section 1512(c)(2) counts after defendants charged with only misdemeanors reject plea deals, id.
at 2-3; and third, the ratio between the maximum period of incarceration under the added felony
count and the maximum period of incarceration for the misdemeanor.plea the government
offered her, which she calculates to be 40-to-1. Id. at 3-4.

None of these facts give rise to a presumption of vindictiveness. “[I]n the pre-
trial context, a defendant must . . . show that ‘all of the circumstances, when taken together,

support a realistic likelihood of vindictiveness.’ United States v. Slatten, 865 F.3d at 799

(quoting United States v. Meyer, 810 F.2d at 1245-46). “[T]he mere fact that a defendant refuses

to plead guilty and forces the government to prove its case is insufficient to warrant a

presumption that subsequent charges in the charging decision are unjustified.” United States v.

Goodwin, 457 U.S. 368, 382-83 (1982). Here, as the government points out, the Superseding
Indictment came twenty months after Ms. Baez rejected the government’s plea offer. See U.S.
Opp. at 8; compare January 28, 2022 Minute Entry with Indictment [Dkt. No. 69]. This
substantial gap in time makes it unlikely that the addition of the felony charge was brought to
punish Ms. Baez.

The government offers a more plausible explanation for the new charge.
Throughout the duration of this case, it claims to have conducted “ongoing review of over
163,000 pages of social media returns,” which “resulted in the discovery of previously
unreviewed materials.” U.S. Opp. at 8. Looking at the full circumstances of the increased
charge, it seems likely that the government’s decision was “the result of [obtaining] additional
information” at a time when “‘the prosecutor’s assessment of the proper extent of prosecution

[had not] crystallized.’” See United States v. Slatten, 865 F.3d at 799 (quoting United States v.

Meyer, 810 F.2d at 1245-46).
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Ms. Baez’s asserted prosecutorial “pattern and practice” does not change the
analysis. Of course, the prosecutions of other similarly situated defendants may sometimes be
relevant “additional facts” that trigger a presumption of vindictiveness after a prosecutor has

added a charge following a defendant’s refusal to plea. See United States v. Meyer, 810 F.2d at

1246 (affirming a presumption of vindictiveness where “[a]ll of the defendants participated in
the same demonstration” but “the defendants who chose to go to trial faced two charges, whereas
the other defendants confronted only one”). Here, however, there is almost no “pattern” to speak
of. Ms. Baez claims to identify one based on the prosecutions of ten defendants other than
herself. See Def.’s Mot. at 2-3. But over 1,200 individuals have been charged for their conduct
at the U.S. Capitol on January 6, 2021, and over 300 have been specifically charged with

violating Section 1512(c)(2). Three Years Since the Jan. 6 Attack on the Capitol, U.S. ATT’y’s

OFF., D.C. (Jan. 5, 2024), www.justice.gov/usao-dce/36-months-jan-6-attack-capitol-0. Given the
sheer number of defendants being prosecuted for similar conduct, it is quite likely that, as it
prepared for trials, the government uncovered new evidence against numerous defendants who
declined plea deals and chose to go to trial. And it is probable that, for at least some of these
defendants, the new evidence supported the addition of a Section 1512(c)(2) charge.

The Court also rejects Ms. Baez’s argument that the ratio of pre-increased-charge
maximum punishment to post-increased-charge maximum punishment can give rise to a
presumption of vindictiveness. See Def.’s Mot. at 3-4. She provides no case law supporting this
claim, and the Court has not found any. This is likely because Congress, not prosecutors,
determines maximum periods of incarceration. The ratio offered by Ms. Baez thus may speak to
the relative seriousness of the added charge — as determined by Congress — but does little to

show a prosecutor’s motives. It is entirely plausible, for example, that a prosecutor might have
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wanted to bring a more serious charge all along, but only was able to do so after uncovering
additional evidence. This is not vindictiveness. In sum, the circumstances surrounding the
government’s decision to charge Ms. Baez with a Section 1512(c)(2) violation, considered as a

whole, fail to “support a realistic likelihood of vindictiveness.” See United States v. Slatten, 865

F.3d at 799.
For the foregoing reasons, it is hereby ORDERED that Ms. Baez’s Motion to
Dismiss Superceding Indictment [Dkt. No. 78] is DENIED.

SO ORDERED.

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PAUL L. FRIEDMAN
United States District Judge

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